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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Criminal Action No. 21-237-2 (RDM)

MATTHEW LELAND KLEIN,

Defendant.

 

 

DECLARATION OF DONNA THIBODEAU
Under 28 US.C. § 1746, I, Donna Thibodeau, state the following:

1. 1am the third-party custodian for Mr. Matthew Leland Klein. By order of the Court, Mr.
Klein is confined to my home in Baker County, Oregon.

2. From the period of 5-\ 4 , 2021 to S-)77_, 2021, | attest that Matthew Leland Klein
has fully complied with each and every condition of his pre-trial release.

3. attest that if I become aware or have reason to believe that Matthew Leland Klein has

violated or will violate any conditions of his release, I will immediately report this
information to the Pretrial Services Agency at (202) 442-1000.

I so declare, under penalty of perjury, that the foregoing is true and correct.

Executed on: S— \71 , 2021

 

 
